Case: 2:11-cr-00010-GCS-EPD Doc #: 184-3 Filed: 09/26/14 Page: 1 of 4 PAGEID #: 2713

Exhibit B
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Mrutler County ess

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Assistant

 

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Ryan C, Felsel, Esquire
Alssistsant

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Depariure List

 

Business Date: 1/19/2009 Property Code: PA316 Shift: No Shift, _ User: jauth.pa316
Accounl Guest Name Anival, Denarture ‘olfoStatus GTO  BRaleCode Balance Room Notes
Company
Group
125774714 BRICKETT, DAVID ones = o1/19/09 I DS SCR 71.8% 102 WOULD LIKE FIRST FLOOR.
MSYNORFOLK SOUTHERN (62.99) A/R ACCTF
116 Guest wilt use own c.c. upon
arcival.jr
125804987 HEBERT, KEIMTH 01/16/09 01/19/09 ) AX Rack 293.57 105 Requesting ground floor. Dont
have any kings on ground floor.
vill have a dog
Do not cancel room. JR
Do not cancet room. JR
125652799 CALLAHAN, KAREN 01/18/09 o1/19/09 | VI S3A 74.08 106
KAREN CALLAHAN (64.99)
125901461 Joviic, jasmine 01/18/09 = 01/19/09 I vi Rack 81.81 108
125892020 RIPPEN, ALVIN L 01809 8 8§=© 01/18/09 i CA S3A 0.00 201
125685390 GEIBEL, CLARENCE 01/17/09 01/19/09 | DS ssc 164.72 262
125498531 GLAVEY JR, JOSEPH Ov16/09 = 01/19/09 | vi ssc 247.08 205
125889331 Stoyer, Kenneth 01/18/09 61/19/09 I AX S3A 71.81 207
125560737 RICHARDS, BRUCE 01/18/09 01/19/09 } vi SsvV 7751+ 210
125899716 RIVERA, EDVIN 01/18/09 01/19/09 j OB Rack 7.51 213
NATIVE FLORAL (57.99)
125897899 HUTCHISON, DONALD ov1s/og =O 1/19/08 j CA. S3A 0.00 214
125898913 FREEDMAN, ESTHER 01/18/08 8§©a1/19/09 J vi S3A 92.33 216
125889402 Paichak, Carolyn o1e09 8 8§=©01/19/09 I vl S3A 71.81 217
125907409 Bell, Stephen 01/18/09 01/19/09 I MC Rack 71.81 220
125903500 HILL, JASON omta/o9 =: 04/19/09 J vi S3A 92.33 222
125895164 GOANETZ, CHRISTINE 01/18/09 = =©61/19/09 “4 CA Rack 0.00 302
125901868 ober, dale 01/18/09 01/19/09 I Vi Rack 71.81 303
125642739 OLSON, CARL 01/18/09 01/19/09 I vi LEXP 77.51 304
128800555 MINCER, SCOTT 01/18/09 o1/19/08 t vi Rack 87.77 306

 

 

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Departure List

Business Date: 1/19/2009

 

 

 

 

 

Property Code: PA316 Shit No Shift User: jauth.pas16
Account Guest Name Arrival Depasiure ‘olioStatz; GID RateCode Balance Boom Nofes
Company
Group
125734882 FEIERABEND, EAAL 01/17/09 01/19/09 I 0B SAO $7.00 307
GUEST PRIVILEGES PROGRAM A/R ACCTS 110
125897148 KUZNICHI, KEVIN 01/18/09 01/19/09 1 VI LDEAL 92.07 308
125873586 SMITH, MATTHEW 01/18/09 01/19/09 | Vi sSO 87.19 314
125907164 BARTUSKA, JON 01/48/09 01/19/09 t Vi RACK 102.59 316
125894166 neyman, roy 01/18/09 01/19/09 | Vi S34 92.33 320
425659444 BRYJA, ROBERT o1/1a/a9 01/19/09 | CA SIT 7751 323
125868892 Hour, Mary 01/18/09 O1v19/09 ! CA Rack 0.00 402 Guests house had smoke
damage. Offered fow rate for one
night
125891902 patavacini, william 01/18/09 01/19/09 ] CA S3A 0.00 403
125886129 BOYLE, SHANE 01/18/09 07/19/09 t DB SRD 28.50 404
GUEST PRIVILEGES PROGRAM AVA ACCTE 110
125670708 Hopper, Rick Ot7ia9g 01/19/09 { MC S3A 174.38 406
125892167 phillips, joe 01/18/09 01/49/09 1 vi S3A 92.33 407
125904087 SHAW, MIKE 01/18/09 01/19/09 I Vi Rack 82.08 408
125808008 ‘*/entworth, Matthew 01/18/09 01/19/09 I vi S3A 85.49 417
125908068 Sego, Timothy 01/18/09 01/19/09 I CA S3A 85.498 419
128904114 SHAW, MIKE 01/18/09 ot/19/09 5 vi Rack 82.08 423
128895122 NUTT, STACY R 01/18/09 01/19/09 I AX SNP 82.07 502
125893577 gold, cortney ot/18/09 O1/t9/09 { Vi Rack 71.81 503
125894304 newman, charolit 01/18/09 O1Ag/09 J vi S3A $2.33 505
125895693 THOMAS, EUGENE 01/18/09 01/48/09 1 AX Rack 82.07 506
128895080 GOANETZ, CHRISTINA 0118/09 01/19/09 I CA Rack 10259 S07
125649913 demartino, ty 01/18/09 01/19/09 ! Mc Rack 87.19 S08
125895664 LARSEN, JIM 01/18/09 01/19/09 I MC UNET 92.33 §09
125906058 Kraiss, Lesa o1/18/09 8§=—.01/19/08 I vi S3A 91.19 519
125899398 KINSINGER, SANDRA oiefog =—s_« 1/19/09 ! DS Rack 86.63 520
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